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       In The United States Court of Federal Claims
                                          No. 12-554C

                                     (Filed: March 29, 2013)
                                           __________
DAVID E. O’BRIEN,

                     Plaintiff,

      v.

THE UNITED STATES,

                     Defendant.

                                           __________

                                            ORDER
                                           __________

        Today, a status conference was held in this case. Participating in the conference were
 Raymond Toney, for plaintiff, and Michael Snyder, for defendant. Pursuant to the parties’
 agreement during the conference, the administrative record will remain sealed, but necessary
 references to the record in filings will neither be sealed nor redacted.

        IT IS SO ORDERED.




                                                     s/ Francis M. Allegra
                                                     Francis M. Allegra
                                                     Judge
